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      SO. CAL. EQUAL ACCESS GROUP
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 6
      Attorneys for Plaintiff
 7    JARDINE GOUGIS
 8
                                 UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
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11
      JARDINE GOUGIS,                                   Case No.: 2:24-cv-05043-MWF (RAOx)
12
                   Plaintiff,
13                                                      NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF DEFENDANT
14                                                      MY BLOOMING BUSINESS LLC
15    MY BLOOMING BUSINESS LLC;
      EUGENIE NOGUEIRA; and DOES 1 to
16    10,
17                 Defendants.
18
19
20          PLEASE TAKE NOTICE that Plaintiff JARDINE GOUGIS (“Plaintiff”)
21    pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
22    Defendant MY BLOOMING BUSINESS LLC (“Defendant”) pursuant to Federal Rule of
23    Civil Procedure Rule 41(a)(1) which provides in relevant part:
24          (a) Voluntary Dismissal.
25                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
                          without a court order by filing:
28


                                                    1
                         NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:24-cv-05043-MWF-RAO      Document 14     Filed 07/08/24    Page 2 of 2 Page ID
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3    Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 4    judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
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 7
 8    DATED: July 8, 2024                  SO. CAL. EQUAL ACCESS GROUP
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10                                         By:       /s/ Jason J. Kim
11                                                 Jason J. Kim
12                                                 Attorneys for Plaintiff
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                      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
